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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                 LAKE CHARLES DIVISION



  STATE OF LOUISIANA, et al.,

                    Plaintiffs,

           v.                                      Case No. 2:24-cv-629

  EQUAL EMPLOYMENT
  OPPORTUNITY COMMISSION,

                    Defendant.



  UNITED STATES CONFERENCE OF
  CATHOLIC BISHOPS, et al.,

                    Plaintiffs,

           v.                                      Case No. 2:24-cv-691

  EQUAL EMPLOYMENT
  OPPORTUNITY COMMISSION, et al.,

                    Defendants.



                                          ORDER
    CONSIDERING the Motion for Leave to Withdraw as Counsel [105];

    IT IS ORDERED that the motion is GRANTED, and, accordingly, Alexandra Widas is

 withdrawn as counsel of record for defendant, Equal Employment Opportunity Commission, in

 the above-captioned matters.

    SO ORDERED at Lake Charles, Louisiana, this 17th day of March, 2025.




                             ___________________________________
                                     THOMAS P. LEBLANC
                             UNITED STATES MAGISTRATE JUDGE
